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                               EXHIBIT 1
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  VIRGINIA: IN THE CIRCUIT COURT OF THE COUNTY OF FLUVANNA

  A.A., and
  F.A.,
                           Petitioners,
  v.                                                        Case No.: CL22000186-00

  J.M., and
  S.M.,
                           Respondents.

                    ORDER CERTIFYING FOR INTERLOCUTORY APPEAL

          THIS CAUSE CAME TO BE HEARD upon the Respondents' Motion for Certification

  as Interlocutory Order, and it appearing proper to do so pursuant to Virginia Code § 8.01-675.5,

  as amended;

          UPON CONSIDERATION of it being in the child's best interests for certainty in this

  matter before proceeding with any future proceedings in the Circuit Court; that judicia! economy

  recommends certifying this Court' s May 3, 2023 Order to provide for an immediate appeal if it is

  construed to be a non-final order; and additionally that (i) there is substantial ground for

  difference of opinion; (ii) there is no clear, controlling precedent on point in the decisions of the

  Supreme Court of Virginia or the Court of Appeals of Virginia; (iii) determination of the issues

  will be dispositive of a material aspect of the proceeding currently pending before the court; and

  (iv) it is in the parties' best interest to seek an interlocutory appeal. It is therefore

          ORDERED that Petitioners' motion for partial summary judgment is granted and the

  May 3, 2023 Order of this Court granting partial summary judgment is certified for interlocutory

  appeal pursuant to Virginia Code§ 8.01-675.5 for the reasons set forth above. The Court finds

  pursuant to Va. Code§ 8.0l-675.5(A) that whether § 63.2-1216 and standing bar Petitioners'

  claims is a question of law as to which ( i) there is substantial ground for difference of opinion;

  (ii) there is no clear, controlling precedent on point in the decisions of the Supreme Court of
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  Virginia or the Court of Appeals of Virginia; (iii) detennination of the issues will be dispositive

  of a material aspect of the proceeding currently pending before the court; and (iv) it is in the

  parti es' best interest to seek an interlocutory appeal. The time to file any such appeal begins on

  the date that the Court signs this ORDER.

          It is further ORDERED that the May 3, 2022 Order granting partial summary judgment

  and proceedings in this Court are stayed until further Order of this Court, pursuant to § 8.01-

  675.S(C)(i).

         In the Court' s discretion, and as the Court announced its ruling, endorsements of counsel

  are waived pursuant to Supreme Court Rule 1: 13. The Court takes this action to which counsel

  for the Petitioners objected for the reasons stated in the record.

         The Clerk of Court is directed to send this Order to all counsel of record.

         ENTERED THIS            z-'""'-   DAY O F ~ , 2023.




                                                         ~v.AA                   •'1   ,c;;_
                                                         Hon. Claude V. Worrell Jr.
                                                         JUDGE




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